Case 3:23-cv-02106-LAB-BGS Document 24 Filed 02/21/24 PageID.295 Page 1 of 1



                                     WAIVER OF SERVICE OF SUMM:ONS


TO: Kevin Potere
                                    (NAME OF PLAINTIFFS ATTORNEY OR UNREPRESENTED PLAINTIFF)


            I, acknowledge receipt of yow- request that I waive service of a summons in the action of

Mullis v. J.P. Morgan Chase & Co. et al.                                   , which is case number                              3:23-cv-02106-LABg

in the United States District Comt for the                                                        Southern                                   District of

California                                     I have also received a copy of the complaint in the
action, two copies of this instnunent, and a means by which I can return the signed waiver to you
without cost to me.

        I agree to save the cost of se1v ice of a summons and an additional copy of the complaint in
this lawsuit by not requiring that I (or the entity on whose behalf I an acting) be se1ved with judicial
process in the manner provided by Rule 4.

        I (or the entity on whose behalf! an acting) will retain all defenses or objections to the lawsuit
or to the jmisdiction or venue of the comt except for objections based on a defect in the summons
or in the se1v ice of the summons.

        I understand that a judgment may be entered against me (or the patty on whose behalf I am
acting) if an answer or motion under Rule 12 is not se1ved upon you within 60 days after

2/15/24                                        , or within 90 days after that date if the request was sent outside the
(DA1E REQUEST WAS SENT)
United States.
2/15/24
(DA1E)                                                                                                        (SIGNATURE)

                                                                         Printed/Typed Name: Robert Haney
                                                                                                                    Francisco Martinez de Velasco
                                                                         As                Attorney                   of
                                                                                      (TITLE)                                               lJhl J:,N lJANT



                                                  Duty to Avoid Unnecessary Costs of Senice of Summons
              Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service ofthe summons and
complaint A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive
service of a summoos, fuils to do so will be required to bear the cost of such service unless good cause be shown for its failure to sign and return the waiver.
              It is not good cause for a failure to waive service that a party believes that the complaint is unfounded, or that the action has been brought in
an improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person or property. A party who waives service of
the summons retains all defenses and objections (except any relating to the summons or to the service of the summons), and may later object to the
jurisdiction of the court or to the place where the action had been brought.
              A defu:idant who waives service must within the time specified on the waiver form serve on the plaintiffs attorney (or unrepresented plaintiff)
a respoose to the complaint and must also file a signed copy of the response with the court. If the answer or motion is not served within this time, a default
judgment may be taken against that defendant By waiving service, a defendant is allowed more time to answer than if the summons had been actually
served when the request for waiver of service was received.




::ODMA\PCDOCS\WORDPERFECT\14598\ l May 5, 1999 ( 11:32am)
